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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                           NORTHERN DIVISION AT COVINGTON
                       Criminal Minutes-Initial Appearance/ Rule 5 Hearing

Cov. Cr. 24-MJ-2516-CJS                  AT COVINGTON                                        02/06/2024

U.S. vs. DANIEL HARRINGTON                         X Present   X Custody
__________________________________________________________________________________
PRESENT: HON. CANDACE J. SMITH U.S. MAGISTRATE JUDGE

Lynn Voskuhl                  KYED-COV__2-24-mj-2516-CJS_20240206_110842
Deputy Clerk                  Audio File Number

I, Lynn Voskuhl, CERTIFY the official record of this proceeding is an audio file.

Joel King                     Christopher D. Wiest                    X Present     X Retained
Assistant U.S. Attorney       Attorney for Defendant

Also Present: Leanne Vonderhaar, Sr. U.S. Probation Officer
PROCEEDINGS:        INITIAL APPEARANCE / RULE 5 HEARING

         Case called for initial proceedings under Criminal Rule 5 on a Criminal Complaint filed in the
District of Columbia. Defendant provided with a copy of the Complaint and arrest warrant. Charges and
potential penalties reviewed; Defendant confirmed he understands. Defendant informed of his rights.
Accordingly, having heard from counsel, IT IS ORDERED as follows:

       1.      United States’ oral motion to unseal the case is granted.

       2.      Charging District is informed Defendant has retained counsel to represent him both before
               this Court and before the Charging District.

       3.      Defendant knowingly and voluntarily waived his right to an Identity Hearing and stipulated
               that he is the person named in the charging documents; a copy of the Complaint and the
               arrest warrant have been produced to him.

       4.      Defendant knowingly and voluntarily waived his right to a Preliminary Hearing in this
               Court and reserved his right to have a Preliminary Hearing in the District of Columbia.

       5.      United States does not seek pretrial detention. Therefore, Defendant is released on his own
               personal recognizance and subject to conditions, as set forth in the Appearance Bond and
               Order Setting Conditions of Release to be filed contemporaneously with these minutes.

       6.      Having been released from custody, Defendant shall appear before the Charging District for
               further proceedings on February 15, 2024, at 12:30 p.m. unless otherwise notified.

USA/USPO/USM/COR
Deputy Clerk Init: LV
TIC: 31 mins
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 AO _199A (Rev. 06/19) Order Setting Conditions of Release                                                     Page lof     '3             Pages




                                        UNITED STATES-DISTRICT COURT                                           1!asffl'li!llllttottmatly
                                                                                                                       FILED
                                                                       for the
                                                             Eastern District of Kentucky                       FEB - 6 2024
                                                                                                                     ATCOVINCTOIII
                                                                                                                     Robert R. Carr
                     United States of America                             )                                    CLtRKU.S. DISTRICTCOtlRT

                                v.                                        )
                                                                          )         Case No.
      ·\)m,e) Harrinqb                                                    )
                                Defendant                                 )

                                         ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDE~D that the defendant's release is subject to these conditions:

( 1) The defendant must not violate federal, state, or local law while on release."

(2)    The def~ndant must cooperate in the collection of a DNA sru;nple if it is 8:uthorized by 34 U.S.C. § 40702.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of residence or telephone number.

(4)    The defendant must appear in court as required and, if convicted, must surrender as directcld to serve a sentence that
       the court may impose.                                               • •
                                                                                 l)~.str ;ci of Colvtrib'ti
       The defendant must appear at:              United States Court4ouse, A?Q-:8'Kili.,                  •
                                                                                            Place     _.

              ".:>3 U!JJsJ.;Mm Ave NwWr!sh1n_r)m"lie. &cool
      on
                                                                         Date and Time •

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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 AO 199B (Rev. 10/20) Additional Conditions of Release                                                                             Page   ;1_ of ~ Pages
                                                 ADDITIONAL CONDITIONS OF RELEASE
      Pursuant to 18 U.S.C. § 3142(c)(l)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
                      •         appearance of the person as required and the safety of any other person and the community.
        IT IS FURTHER ORDERED that the defendant's release is subject to the-conditions marked below:
 ( D ) (6)    The defendant is placed in the custody of:
              Person .or organization
             Address (only ifabove is an organization)
              City and state _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                               Tel. No. _ _ _ _ _ _ _ _ _ _ _ __
 who agrees to (a) supervise the'defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
 immediately if the defendant violates a condition ofrelease or is no longer-in the cus1pdian's custody.                                             •

                                                                       Signed: _ _~ - - - - - - - - - - - - -
                                                                                          Custodian                                         Date
. ( )( ) (7) The defendant must:          .
        ( ~ ) (a) submit to supervision by and report for supervision to the Uruted Stat
                   telephone number         _ _ _ _ _ _ ·, no later than At:s~D~ir~ec~t~ed~s;,~fri~Ml~;i~-,=r.~~~~~--1,t"vVerity
        ( D) (b) continue or actively seek employment
        ( [j ) (c) continue or start an education program.
        ( D) (d) surrender any passport to:
        (□) (e) not obtain a passport or other international travel document
        ( ~) (f) abi~ the follpwing res •ctio~ on peponaJ              cjatiojl,_ resi~ncej'lor tqi.vel:
                    (}t'         C       Qfl . 15.\(,ct of"             l(),r/Dt -l« tCl(~ 0                              .
        ( D ) (g) avoid all contact, • ectly or indirectly, with any person who is or may be a ctim or wi ess in the • vestigation or prosecution,
                   Including, but not limited to, any and all co-defendants or potential co-defendants, except in the presence of counsel.

       ( D ) (h) get medical or psychiatric treatment:

       ( D ) (i) return to custody each _ _ _ __ at _ _ _ o'clock after being released at _ _ _ _ _ o'clock for employment, schooll,ng;
                 or the following purposes:

     . ( D ) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                  necessary.                                  .
       ( K) (k) not possess a firearm, destructive device, or. other weapon.
       ( D ) (I) not use alcohol ( q ) at all ( D ) excessively.
       ( D ) (m) not use or unlawfully possess.a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licens·ed
                  medical practitioner.                                                             :                       •                        ••
     • ( D ) (n) submit to testing for -a prohibited substance if required by the pretrial services office or supervising ·officer. Testing may be used with
                  random :frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                  prohibited sub.stance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy •
                  of prohibited ·sub~ce screening or testing.                                         •
      c  b ) Co) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                  supervising officer.                        .            •                                                                          •
       ( D ) (p) participate in one. of the following location restrictio_n programs and comply with its requirements as directed
                  ( D ) (i) Curfew. You are n;stricted to your residence every day ( D ) from .                          to _ _ _ _ , or ( □ ) as
                              directed by the pretrial services office or supervising officer; or
                 ( D ) (ii) Home Detention. You are restricted fo your residence at all times except for employment; education; n;ligious services;
                             medical, substance abuse, or mental health treatmeil.t; attorney visits; court appearances; court-ordered obligations; or other
                             activities approved in advance by the pretrial services office or supervising officer; or •
                 ( D ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                             court appearances or other activities specifically approved by the court; or.                           •
                  ( )
                    □   (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                             you must comply with the location or travel restrictions as- imposed by the court.                    •
                             Note: Stand Aione Monitoring should be used in conjunction with global positioning system (GPS) technology.
      ( □) (q) submit to the following location monitoring technology and comply with 'its requirements as directed:
                 ( D ) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
                 ( D ) (ii) Voice Recognition; or
                 ( D ) (iii) Radio Frequency; or
                 ( D ) (iv) GPS.
      ( □ ) (r) pay all or part of the cost oflocation monitoring based upon your ability to pay as determined by the pretrial services or supervising
                officer.
      ( ) ) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
                  questio~,\:~c stqps.            •                                       i J.,.,,,                  .J •
      <~) <<)    ~~~fil~~sd!~oot~ by US~
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    AO 199C (Rev. 09/08) Advice of Penalties                                                                  Page   ~     of   3   Pages

                                               ADVICE OF PENALTIES AND SANCTIONS

    TO THE DEFENDANT:

    YOU ARE ADVISED OF~ FOLLOWING PENALTIES.AND SANCTIONS:

         Violating any of the foregoing conditions ofrelease may result in the immediate issuance of a warrant for your arrest, a
 revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of cpurt and couid result in
 imprisonment, a fine, or both.
        While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
 and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. 1bis sentence will be
 consecutive (i.e., in addition to) to any other sentence you receive.          •                 .                         .
                                                                                                              a
        It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct criminal investigation;
-tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim,· or informant; or intimidate or
 attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering; r~taliation, or
 intimidation are significantly more serious if they involve a killing or attempted killing.
        If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment"may be imposed. If you are convicted of:
      • (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more -you will be fined
              not niore than $250,000 or imprisoned for not more than IO years, or both; .
        (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will be fined not
              more than $250,000 or imprisoned for not more than five years,_ or both;                                .
        (3) • any other felony- you will be fmed not more than $250,000 or imprisoned not more than two years, or both;·
        (4) a misdemeanor- you will be fined not more than $100,000 ·or imprisoned not more than one year, or both. • .
        A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
a_ddition, a failure to appear or surrender may result in the forfeiture of any 'f?ond posted.

                                                  . Acknowledgment of the Defendant_

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                                                      Defi dant's Signature


                                                                            eperrJ?a~~JJ
                                                  Directions to the United States Marshal

(    ~ ~e defendant is ORDERED released aft~r p;ocessing.
( □ ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
           defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
           produced before the appropriate judge at the time and place specified.                                                   •


Date: _O(=-"-\t--~
                   \
                        \_~-4~
                         \                                        •                 J u ~ cer's Signature

                                                                      Honorable Candace J. Smith, U.S. Magistrate Judge
                                                                                     Printed name and title




                       DISTRIBUTION:      COURT    DEFENDANT .   PRETRIAL SERVICE    U.S. ATTORNEY •      U.S. MARSHAI,,
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    AO 98 (Rev: 12/11) Appearance Bond •



                                           UNITED STATES DISTRJCT COURT                                              FEB -·6 2024
                                                                       for the
                                                                                                                        ATCOVJNc:ror.     :
                                                                     District of .                                 ~~c;~
                      United States of America                            )
                                   .v.                                    )
                                                                          )
                                                                          )
                                Defendant                                 )

                                                            APPEARANCE BOND

                                              I             IDefonullant's Agreemen.~
I,     ~o..v\tel                     r
                             r .fl t(11 •                       (defendant), agree to follow every order oftlris <;,Ou.rt, or any
court that considers this case, and further agree that this bond may be forfeite~ if I fail: • •        •
             ( X ) • to appear fo;r court proceedings;
             ( X )       if convicted, to surrender to serve ;i sentence that the co.urt may impose; or
                 ( f)l. )to comply with all conditions set forth in the Order .Setting Conditions of Release.

                                                                  Type of Bol!Ildl
~ ) (1) This is a personal recognizance bond.
(       ) (2) This is an unsecured bond of$ _ _ _ _ _ _ _ _ _ __

(       ) (3) This is a secured bond of$ - - - - ~ - - - - - , secured by:

          (     ) (a) $ - - - - - - - - , in cash deposited with the court.

          (     ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                   (d~cribe the cash or other property, including claims on it- such as a lien, mortgage, or loan - and attach proof of
                   ownership and value):



                   If this bond is secured by real property, documents to protect the secure4 intere~t may be filed o( record. •

          (     ) (c) a bail bond with a solvent surety (attach a copy ofthe bail bond, or describe it and identify the surety):
                      .                                                                         .




                                                    Forfe:itm-e or Release of tlb.e Bond

i'oifeiture ofthe Bond: This appearance bo~d may be forfeited if the defendant does not comply with the above
gree.f?ent. The court may immediately order the amount of the bond surrendered to the United States, including the
ecurity for the bond, if the defendant does riot comply with the agreement. At the request _of the United States, the court
:iay order a judgment of forfeiture against the defendap.t and each surety for the entire amount of the bond, including
1terest and costs.                   •
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                                                                                                                              Page 2 •

 AO 98 (Rev. 12/ll) Appearance Bond .



 Release of the Bond. The court may order this appearance bond ended at any time. ·1bis bond will be satisfied and the
 security will be releas~d when either: (1) the defendant is found not guilty on ·an charges, or (2) the defenrumt reports to
 serve a sentence.                                                                                             '         •

                                                           DecHaratiollll.s

Ownership of the Property. I, the defendant- and each surety- declare under penalty of perjury that:

          (1)       all owners of the property securing this appearance bond are included on the bond;
          (2)       the property is not subject to claims, except as described above; and_
          (3)       I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
                    while this appearance bond is in effect.

Accf!,ptance. I, the defendant - and each surety- have read this appearance bond and have either read all the conditions
of release. set by the court or had them explained to me. I agree to this Appearance Bond.




I, the.defendant-and: each S1,1Tety-declare i.mderpenalty of perjury that this information is rrue. (See 28 U.S.C. § 1746.)




                Surety/property owner - printed name                          Surety/prpperty owner - signature and date



                Surety/property owner-printed name                            Surety/property owner- signature and date



                Surety/property owner - printed name                          Surety/property owne/-- signature and date
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